         Case 1:21-cv-02908-APM Document 27 Filed 09/28/22 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


ALEXANDER CAMERON, et al.,
on behalf of themselves and all others similarly
situated,


                                Plaintiffs,
                                                                 1:21-cv-02908 (APM)
               v.

DISTRICT OF COLUMBIA,

                                Defendant.


                                     NOTICE OF APPEAL

       All Plaintiffs in this action hereby appeal to the United States Court of Appeals for the D.C.

Circuit from this Court’s August 29, 2022 Memorandum Opinion and Order, ECF 24 & 25, insofar

as they dismiss Claims I and III of Plaintiffs’ Complaint, ECF 1, and deny Plaintiffs’ Motion for

class Certification and Appointment of Class Counsel, ECF 9.


Dated: September 28, 2022                     Respectfully Submitted,

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Case 1:21-cv-02908-APM Document 27 Filed 09/28/22 Page 2 of 2




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